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     Amberlea Davis, Nevada Bar No. 11551
 1   LAW OFFICES OF AMBERLEA DAVIS
     501 S. 6th Street
 2   Las Vegas, NV 89101
     (702) 380-4274
 3   Amber@SheIsMyLawyer.com
     Attorney for Creditor Nick Pyknis
 4

 5                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
 6
     In re:                                 )       BK-2214269
 7                                          )
                                            )       Chapter 7
 8
     MARLENA DENISE HALL                    )
                                            )       NOTICE OF HEARING ON
 9
                                            )       MOTION FOR RELIEF FROM STAY
10
     Debtor                                 )
                                            )       Date: 04/18/23
11                                          )       Time: 1:30 pm
                                            )       Teleconference: (669) 254-5252
12                                          )              Meeting ID 161 166 2815
                                            )              Passcode 115788#
13

14            NOTICE IS HEREBY GIVEN that a MOTION FOR RELIEF FROM STAY was filed

15   on March 14, 2023 by Creditor Nick Pyknis. The Motion seeks the following relief: Relief from
16   stay to continue the summary eviction process. Any opposition must be filed pursuant to Local
17
     Rule 9014.
18
              NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief sought
19
     in the Motion, or if you want the court to consider your views on the Motion, then you must file
20
     an opposition with the court, and serve a copy on the person making the Motion no later than 14
21
     days preceding the hearing date for the motion, unless an exception applies (see Local Rule
22
     9014(d)(3)). The opposition must state your position, set forth all relevant facts and legal authority,
23
     and be supported by affidavits or declarations that conform to Local Rule 9014(c).
24

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 1        If you object to the relief requested, you must file a WRITTEN response to this

 2        pleading with the court. You must also serve your written response on the person who

 3        sent you this notice.
 4        If you do not file a written response with the court, or if you do not serve your written
 5
          response on the person who sent you this notice, then:
 6
          • The court may refuse to allow you to speak at the scheduled hearing; and
 7
          • The court may rule against you without formally calling the matter at the hearing.
 8

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12   NOTICE IS FURTHER GIVEN that the hearing on the said Motion will be held before a

13   United States Bankruptcy Judge, in the Federal Foley Building, 300 Las Vegas Boulevard South,

14   Third Floor, Las Vegas, Nevada 89101 on 04/18/2023 at 1:30 APM.
15

16
     DATED: 3/20/23                                      /s/ Amberlea Davis
                                                         Attorney for Creditor
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 1                        CERTIFICATE OF SERVICE
 2

 3
     On March 20, 2023, I duly served the following documents:
 4
        •   Notice of Hearing on Motion for Relief from Stay
 5
     Via the Court’s Electronic Filing System to all listed parties receiving notice pursuant to the
 6
     Court’s CM/ECF system.
 7

 8

 9
     DATED: 3/20/23                                        /s/ Amberlea Davis
     Attorney for Creditor
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10
                              Exhibit A
11              Motion for Relief from Stay
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NVB 4001 (Rev. 09/20)




                                   * * § 362 INFORMATION SHEET * *

      Marlena Denise Hall                             22-14269-nmc
     DEBTOR                                           BK-                              MOTION #:
      Nick Pyknis                                     CHAPTER: 7
     MOVANT
                    Certification of Attempt to Resolve the Matter Without Court Action:
     Moving counsel hereby certifies that pursuant to the requirements of LR 4001(a)(2), an attempt has
     been made to resolve the matter without court action, but movant has been unable to do so.
     Date: 3/14/21                                 Signature: /Amberlea Davis
                                                                  Attorney for Movant

     Note for parties not represented by an attorney: Information about motions for relief from the automatic
     stay is available at the U.S. Bankruptcy Court's website:
     https://www.nvb.uscourts.gov/filing/filing-pro-se/legal-services/.

     PROPERTY INVOLVED IN THIS MOTION: 5433 Magic Mango St, North Las Vegas, NV 89031
     NOTICE SERVED ON: Debtor(s)          ; Debtor's counsel    ✔       ; Trustee    ✔                          ;
     DATE OF SERVICE: 3/14/23

          MOVING PARTY'S CONTENTIONS:                               DEBTOR'S CONTENTIONS:
     The EXTENT and PRIORITY of LIENS:                        The EXTENT and PRIORITY of LIENS:

     1st                                                      1st
     2nd                                                      2nd
     3rd                                                      3rd
     4th                                                      4th
     Other:                                                   Other:
     Total Encumbrances:                                      Total Encumbrances:

     APPRAISAL of OPINION as to VALUE:                        APPRAISAL of OPINION as to VALUE:




            TERMS of MOVANT'S CONTRACT                               DEBTOR'S OFFER of "ADEQUATE
                 with the DEBTOR(S)::                                  PROTECTION"for MOVANT :


     Amount of Note: Lease                                     .
     Interest Rate: n/a                                        .
     Duration: Month to Month                                  .
     Payment per Month: $1500                                  .
     Date of Default: Before 1/1/21                            .
     Amount in Arrears: 8480.75                                .
     Date of Notice of Default: 1/7/21, 5/9/22                 .
     SPECIAL CIRCUMSTANCES:                                    SPECIAL CIRCUMSTANCES:
      Has not paid rent in more than 5 months.


     SUBMITTED BY: Attorney Amberlea Davis                     SUBMITTED BY:
                                                               SIGNATURE:
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     MOT
 1   Amberlea Davis NV Bar #11551
     LAW OFFICES OF AMBERLEA DAVIS
 2   501 S. 6th Street
     Las Vegas, NV 89101
 3   (702) 440-8000
     Amber@sheismylawyer.com
 4   Attorney for Creditor Nick Pyknis

 5
                               UNITED STATES BANKRUPTCY COURT
 6                                    DISTRICT OF NEVADA
 7   In re:                                 )      BK-2214269
                                            )
 8
                                            )      Chapter 7
 9   MARLENA DENISE HALL                    )
                                            )      MOTION FOR RELIEF FROM STAY
10   Debtor                                 )
                                            )      Date: 04/18/23
11                                          )      Time: 1:30 pm
                                            )
12                                          Teleconference: (669) 254-5252
                                            )             Meeting ID 161 166 2815
13                                          )             Passcode 115788#
14

15            Creditor Nick Pykins hereby moves this court pursuant to 11 U.S.C. § 362 for relief from

16   the automatic stay with respect to an unlawful detainer action related to real property commonly

17   known as 5433 Magic Mango Street, North Las Vegas, NV 89031 (“Subject Property”). In

18   particular, Creditor requests that this Court issue an Order allowing Creditor to continue eviction
19
     proceedings against Debtor. Creditor asks for relief based on 11 U.S.C. §§362(d)(1) and (d)(2).
20
     This motion is supported by the attached Memorandum of Points and Authorities; the pleadings
21
     now on file; and any testimony the court may entertain.
22
              The Creditor states as follows:
23
              FACTUAL BACKGROUND
24
              On or about November 5, 2019, Creditor Pyknis, as Landlord, and Debtor Hall, as Tenant,
25
     entered into a Residential Lease (“Lease”) [Exhibit A, Lease] for the Subject Property located at

     5433 Magic Mango Street, North Las Vegas, NV 89031. Pursuant to the Lease, the term of tenancy

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     commenced on December 1, 2019 and continued until November 30, 2020 with a monthly rent of
 1
     $1225.00, which was increased to $1500, per month, after the tenancy became month-to-month.
 2

 3   Creditor remains in the property as of filing.

 4          Debtor has failed to pay rent since the lease continued to a month to month, but CHAPS

 5   paid for some months. The resulting a rental arrearage in excess of $8,400. Consequently, Creditor

 6   served a Pay or Quit Notices on the Debtor on January 1, 2021; May 9, 2022; and most recently
 7   on March 8, 2023 at which time, Creditor was informed of this instant bankruptcy.
 8
            Relief from Stay is Proper Pursuant to 11 U.S.C. §362(d)(1)
 9
            There is “cause” under 11 U.S.C. §362(d)(1) to lift the automatic stay as Debtor continues
10
     to occupy the property without compensating the Creditor. Creditor has diligently pursued his legal
11
     rights to evict Debtor, but was thwarted by Debtor’s Chapter 13 filing. Based on the Trustee’s
12
     Report of No Distribution [Dkt. 19], sufficient assets do not exist in Debtor’s estate to fully
13
     compensate Creditor for this continuing financial loss. Consequently, strong “cause” exists to lift
14
     the automatic stay.
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            Relief from the Stay is Property under 11 U.S.C. §362(d)(2)
 1
            Pursuant to 11 U.S.C. §362(d)(2), the Court may terminate the automatic stay, with respect
 2

 3   to a stay of an act against property, if the debtor does not have an equity in the property and if such

 4   property is not necessary to an effective reorganization. Debtor is a tenant of the property in

 5   question and consequently has no equity in the property. Moreover, as the subject property is not

 6   part of the bankruptcy estate, it is not necessary for an effective reorganization. Consequently, the
 7   automatic stay should be lifted to allow the eviction process to proceed.
 8
            CONCLUSION
 9
            Relief from the stay is appropriate under 11 U.S.C. §362(d). “Cause” for relief exists as
10
     the Creditor will suffer undue financial hardship should the Property remain protected by §362.
11
     Relief is also appropriate under §362(d)(2) because the Debtor has no equity in the property and
12
     because it is not necessary for an effective reorganization.
13

14
     WHEREFORE, the Creditor respectfully prays that this Honorable Court:
15

16          1. Grant the Creditor relief from the stay and to allow Creditor to repossess the Property

17              and evict the Debtor from the Property;

18          2. Grant the Creditor any such relief as the Court deems appropriate.

19

20   DATED this 14th day of March 2023
21
                                                    RESPECTFULLY SUBMITTED:
22
                                                    _/s/ Amberlea Davis______________________
23                                                  AMBERLEA DAVIS Bar # 11551
                                                    501 S. 6th Street
24                                                  Las Vegas, NV 89101
                                                    Telephone: 702-380-4274
25                                                  Fax: 702-380-8496
                                                    Amber@sheismylawyer.com
                                                    Attorney for Nick Pyknis


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10                          EXHIBIT A
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10                           EXHIBIT B
11
                    (PROPOSED ORDER)
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 8
     Amberlea Davis NV Bar #11551
 9   LAW OFFICES OF AMBERLEA DAVIS
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10   Las Vegas, NV 89101
     (702) 440-8000
11   Amber@sheismylawyer.com
     Attorney for Creditor Nick Pyknis
12

13                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
14
     In re:                               )      BK-2214269
15                                        )
                                          )      Chapter 7
16
     MARLENA DENISE HALL                  )
17                                        )
     Debtor                               )
18                                        )      Date: 04/18/23
                                          )      Time: 1:30 pm
19                                        )      Teleconference: (669) 254-5252
                                          )             Meeting ID 161 166 2815
20                                        )             Passcode 115788#
21

22
                   [PROPOSED] ORDER TERMINATING THE AUTOMATIC STAY
23
              The Motion for Relief from Stay having been properly served, the Court makes its Order
24
     as follows:
25
              IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Automatic Stay in

     the above-entitled Bankruptcy case shall be terminated as to the Debtor in favor of Movant Nick

                                                    6
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     Pyknis, as it pertains to the certain premises located at 5433 Magic Mango Street, North Las Vegas,
 1
     NV 89031;
 2

 3          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Nickk Pyknis may go

 4   forward with all remedies to which he is entitled, to take possession of said real property, using

 5   state court proceedings to do so, if necessary.

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                              ALTERNATIVE METHOD RE: RULE 9021
 1
     In accordance with LR 9021, counsel submitting this document certifies that the order accurately
 2
     reflects the court’s ruling and that (check one):
 3

 4          ___ The court has waived the requirement set forth in LR 9021(1).

 5
            ___ No party appeared at the hearing or filed an objection to the motion.
 6

 7          ___ I have delivered a copy of this proposed order to all counsel who appeared at the
            hearing, and any unrepresented parties who appeared at the hearing, and each has
 8
            approved or disapproved the order, or failed to respond, as indicated below [list each
 9          party and whether the party has approved, disapproved, or failed to respond to the
10          document]:

11
            ___ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
12          order with the motion pursuant to LR 9014(g), and that no party has objected to the form
13          or content of the order.

14

15

16                                                  RESPECTFULLY SUBMITTED:
17                                                  _/s/ Amberlea Davis______________________
                                                    AMBERLEA DAVIS Bar # 11551
18
                                                    501 S. 6th Street
19                                                  Las Vegas, NV 89101
                                                    Telephone: 702-380-4274
20                                                  Fax: 702-380-8496
                                                    Amber@sheismylawyer.com
21                                                  Attorney for Nick Pyknis

22

23

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